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 1                       UNITED STATES DISTRICT COURT

 2                       CENTRAL DISTRICT OF CALIFORNIA

 3                HONORABLE JOHN W. HOLCOMB, JUDGE PRESIDING

 4     GOLDWATER BANK, NA,                     )
                                               )
 5                                             )
                                               )
 6                             Plaintiff,      )
                                               )
 7                                             )
                                               )
 8                Vs.                          )   No. CV21-00616-JWH
                                               )
 9                                             )
                                               )
10     ARTUR ELIZAROV, ET AL.,                 )
                                               )
11                                             )
                                               )
12                                             )
                               Defendants.     )
13                                             )
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14

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16          REPORTER'S TRANSCRIPT OF VIDEO CONFERENCE PROCEEDINGS

17                          MOTION HEARING VIA ZOOM

18                            RIVERSIDE, CALIFORNIA

19                              MONDAY, MAY 3, 2021

20

21

22

23                     MIRIAM V. BAIRD, CSR 11893, CCRA
                     OFFICIAL U.S. DISTRICT COURT REPORTER
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                         LOS ANGELES, CALIFORNIA 90012
25                             MVB11893@aol.com



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 1                Let me start with -- with Mr. Bast.        Why in

 2     heaven's name did Goldwater Bank not record its security

 3     interest as soon as it realized that it had been unrecorded?

 4                I know it's a little off from -- from what I need

 5     to know for the purposes of this preliminary injunction,

 6     perhaps; but, nevertheless, we're in -- we're also in status

 7     conference land.     So if you could -- if you could tell me --

 8     that question has been perplexing me.

 9                MR. BAST:    Yes, Your Honor.     Us as well.

10     Obviously, if that had been recorded, even after the fact, I

11     think the circumstances would be a little different.           We

12     probably wouldn't be here today.       I can't -- I can't tell you

13     why that didn't happen.      You know, our client has continued

14     to discuss this matter with the title company who is

15     responsible for that.     That's -- that is not before the Court

16     today and is -- is still ongoing, but --

17                THE COURT:    Right.   Okay.   That's -- that's --

18     that's good.

19                Now, Goldwater Bank first learned that the -- its

20     deed of trust was not recorded, when was that?

21                MR. BAST:    Your Honor, our client first learned

22     that the deed of trust was not recorded in communication with

23     Mr. Elizarov and the escrow agent on the sale, Escrow of the

24     West.   Until then, they were unaware that the deed was --

25     that -- that the deed of trust was unrecorded.         The deed of



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 1     trust was from mid-2019, so it had been a -- a matter of

 2     months.   This wasn't necessarily the case of a 20-year-old

 3     wild deed.

 4                  THE COURT:   Well, looking at Mr. Hill's declaration

 5     in support of the TRO, and he says in March 2021, Elizarov

 6     informed Goldwater that he intended to sell the subject

 7     property.    And that's -- it's the subject of a dispute that,

 8     perhaps, we'll cover later in terms of timing.

 9                  Then on May -- March 3rd, in Paragraph 7,

10     communications with Escrow of the West and Escrow of the West

11     wants a payoff notice.      And then in Paragraph 9, shortly

12     thereafter, Escrow of the re- -- Escrow of the West

13     discovered that Goldwater's deed of trust never been

14     recorded, but I don't see a date on Paragraph 9.

15                  MR. BAST:    Yes, Your Honor.   And I don't know

16     that -- what the exact date of that is.        I believe that as of

17     March 24th is when Goldwater prepared the payoff calculation

18     for Escrow of the West, and that was submitted with our

19     reply.    And in response to that submission is when Escrow of

20     the West informed Goldwater that they, you know, were no

21     longer authorized to communicate with Goldwater on the

22     matter.

23                  And so it was -- at some point, I believe,

24     between -- between the initial payoff demand letter that was

25     sent at the beginning of the month and the 24th when Escrow



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 1     of the West learned that.

 2                 THE COURT:   Okay.   Let me jump over to

 3     Mr. Alekseyeff.

 4                 Same question with respect to Mr. Elizarov.        When

 5     did he learn that Goldwater Bank's deed of trust had not been

 6     recorded?

 7                 MR. ALEKSEYEFF:    Your Honor, he did not learn in

 8     his declaration, but he also learned it when the final escrow

 9     settlement statement was prepared.       In fact, the reason he

10     contacted Goldwater back in February to let them know that,

11     by the way, I'm planning to sell the property is because he

12     had no idea that they made this unthinkable mistake and had

13     not recorded their deed.      So he pretty much found out about

14     it around the same time as the bank did.        Maybe a little bit

15     sooner, maybe by a day or two only because he would have

16     gotten the statement from Escrow, which the bank does not

17     typically receive.

18                 So he would have gotten the statement, which he

19     did, and that's when he realized it was an issue.         And that's

20     when the bank and Mr. Elizarov started to negotiate about a

21     possible resolution given some of the other outstanding liens

22     on the property.

23                 THE COURT:   Now, Mr. Elizarov, after closing on the

24     Palm Beach property, Mr. Elizarov, perhaps through the escrow

25     agency, caused the other liens to be paid off, the mechanics



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 1                                  CERTIFICATE

 2     I HEREBY CERTIFY THAT THE FOREGOING IS A TRUE AND CORRECT

 3     TRANSCRIPT OF THE STENOGRAPHICALLY RECORDED PROCEEDINGS IN

 4     THE ABOVE MATTER.

 5     FEES CHARGED FOR THIS TRANSCRIPT, LESS ANY CIRCUIT FEE

 6     REDUCTION AND/OR DEPOSIT, ARE IN CONFORMANCE WITH THE

 7     REGULATIONS OF THE JUDICIAL CONFERENCE OF THE UNITED STATES.

 8

 9     /s/ Miriam V. Baird                  03/21/2022

10     MIRIAM V. BAIRD                            DATE
       OFFICIAL REPORTER
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                          UNITED STATES DISTRICT COURT Exhibit MM - 5
